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                           UNITED STATES DISTRICT COURT
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                                                                                        MAY 052015
                         SOUTHERN DISTRICT OF CALI FORNI                         ,,~.            .   ,,-,   ...
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UNITED STATES OF AMERICA,                       CASE NO. 15CRI026-AJB

                           Plaintiff,
                   vs.                          JUDGMENT OF DISMISSAL
SANDY JOANA GALLARDO-PEREZ
 (2) ,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

         an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

         the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice:

         the Court has granted the motion of the defendant for a judgment of
         acquittal; or

         a jury has been waived, and the Court has found the defendant not
         guilty; or

         the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

         8:1324(a) (2) (B) (iii); 18:2 - Bringing in Aliens Without Presentation:

         Aiding and Abetting

              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: MAY 5, 2015
                                                David H. Bartick
                                                U.S. Magistrate Judge
